Case 08-14631-GMB Doc 294-3 Filed 05/14/08 Entered 05/14/08 17:56:06   Desc
                 Exhibit C - Invoices - Expenses Page 1 of 18
Case 08-14631-GMB Doc 294-3 Filed 05/14/08 Entered 05/14/08 17:56:06   Desc
                 Exhibit C - Invoices - Expenses Page 2 of 18
Case 08-14631-GMB Doc 294-3 Filed 05/14/08 Entered 05/14/08 17:56:06   Desc
                 Exhibit C - Invoices - Expenses Page 3 of 18
Case 08-14631-GMB Doc 294-3 Filed 05/14/08 Entered 05/14/08 17:56:06   Desc
                 Exhibit C - Invoices - Expenses Page 4 of 18
Case 08-14631-GMB Doc 294-3 Filed 05/14/08 Entered 05/14/08 17:56:06   Desc
                 Exhibit C - Invoices - Expenses Page 5 of 18
Case 08-14631-GMB Doc 294-3 Filed 05/14/08 Entered 05/14/08 17:56:06   Desc
                 Exhibit C - Invoices - Expenses Page 6 of 18
Case 08-14631-GMB Doc 294-3 Filed 05/14/08 Entered 05/14/08 17:56:06   Desc
                 Exhibit C - Invoices - Expenses Page 7 of 18
Case 08-14631-GMB Doc 294-3 Filed 05/14/08 Entered 05/14/08 17:56:06   Desc
                 Exhibit C - Invoices - Expenses Page 8 of 18
Case 08-14631-GMB Doc 294-3 Filed 05/14/08 Entered 05/14/08 17:56:06   Desc
                 Exhibit C - Invoices - Expenses Page 9 of 18
Case 08-14631-GMB Doc 294-3 Filed 05/14/08 Entered 05/14/08 17:56:06   Desc
                Exhibit C - Invoices - Expenses Page 10 of 18
Case 08-14631-GMB Doc 294-3 Filed 05/14/08 Entered 05/14/08 17:56:06   Desc
                Exhibit C - Invoices - Expenses Page 11 of 18
Case 08-14631-GMB Doc 294-3 Filed 05/14/08 Entered 05/14/08 17:56:06   Desc
                Exhibit C - Invoices - Expenses Page 12 of 18
Case 08-14631-GMB Doc 294-3 Filed 05/14/08 Entered 05/14/08 17:56:06   Desc
                Exhibit C - Invoices - Expenses Page 13 of 18
Case 08-14631-GMB Doc 294-3 Filed 05/14/08 Entered 05/14/08 17:56:06   Desc
                Exhibit C - Invoices - Expenses Page 14 of 18
Case 08-14631-GMB Doc 294-3 Filed 05/14/08 Entered 05/14/08 17:56:06   Desc
                Exhibit C - Invoices - Expenses Page 15 of 18
Case 08-14631-GMB Doc 294-3 Filed 05/14/08 Entered 05/14/08 17:56:06   Desc
                Exhibit C - Invoices - Expenses Page 16 of 18
Case 08-14631-GMB Doc 294-3 Filed 05/14/08 Entered 05/14/08 17:56:06   Desc
                Exhibit C - Invoices - Expenses Page 17 of 18
Case 08-14631-GMB Doc 294-3 Filed 05/14/08 Entered 05/14/08 17:56:06   Desc
                Exhibit C - Invoices - Expenses Page 18 of 18
